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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

 BEAR CREEK BIBLE CREEK et al.,                      §
                                                     §
      Plaintiffs,                                    §
                                                     §
 v.                                                  §    Civil Action No. 4:18-cv-00824-O
                                                     §
 EQUAL EMPLOYMENT                                    §
 OPPORTUNITY COMMISSION et al.,                      §
                                                     §
      Defendants.                                    §


                                   AMENDED FINAL JUDGMENT

             On November 22, 2021, the Court issued an Amended Memorandum Opinion and Order

(ECF No. 124), granting in part and denying in part Motion to Certify Class (ECF No. 71); granting

in part and denying in part Motion for Summary Judgment (ECF No. 72); and granting in part and

denying in part Motion for Summary Judgment (ECF No. 95). On December 14, 2021, the Court

issued its Final Judgment (ECF No. 126). Plaintiffs then filed Motions to Amend/Correct Class-

Certification Order and to Amend/Correct Final Judgment (ECF Nos. 129, 130).

             In accordance with the Court’s Order (ECF No. 135), issued January 12, 2022:

        I.      Defendants’ Motion for summary judgment based on standing, ripeness, and sovereign

                immunity is denied.

       II.      The Court enters judgment in favor of Braidwood and the Religious Business-Type

                Employers Class.

                    a. Plaintiffs’ Religious Business-Type Employers Class is certified as to Claims
                       1–5.
                    b. The Class consists of for-profit entities producing secular products. While faith
                       may be a motivating part of the businesses’ missions, their incorporating
                       documents generally do not include a religious purpose. For an employer like
                       Braidwood, religion plays an important role, but is not the sole mission of the
                       organization.

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           c. Jonathan F. Mitchell, Gene P. Hamilton, Charles W. Fillmore, and H. Dustin
              Fillmore are appointed as class counsel.
 III.   The Court enters judgment in favor of Braidwood and the All Opposing Employers

        Class.

           a. Plaintiffs’ All Opposing Employers Class is certified as to Claims 4 and 5.
           b. The Class consists of employers who oppose homosexual or transgender
              behavior on religious and nonreligious bases.
           c. Jonathan F. Mitchell, Gene P. Hamilton, Charles W. Fillmore, and H. Dustin
              Fillmore are appointed as class counsel.
 IV.    Plaintiffs’ Motion for Summary Judgment is denied as to Bear Creek Church and the

        Church-Type Employers Class is not certified, because these employers are not

        burdened by Title VII.

  V.    Plaintiffs’ Motion for Summary Judgment is granted as to the Religious Business-Type

        Employers Class, and those in that class are protected by the Religious Freedom

        Restoration Act and the First Amendment.

           a. Defendants are enjoined from enforcing Title VII against Braidwood and
              members of the Religious Business-Type Class in a manner that limits their
              right to establish employment policies in accordance with sincerely held
              religious beliefs.

 VI.    Plaintiffs’ Motion for Summary Judgment is granted as to employer policies on sexual

        conduct, dress codes, and restrooms. These policies do not violate Title VII as a matter

        of law.

           a. Defendants are enjoined from enforcing Title VII against Braidwood and
              members of the All Opposing Employer Class in a manner that limits their right
              to create and maintain sex-neutral codes of conduct that do not target
              homosexual or transgender employees.

 VII.   Defendants’ Motion for Summary Judgment is granted as to employer policies

        concerning bisexual conduct, sex-reassignment surgery, and hormone treatment.




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       This is a final judgment that fully and finally resolves all remaining parties and claims to

this suit and may be appealed. All relief not herein granted is denied.

       SO ORDERED on this 12th day of January, 2022.


                                                        _____________________________________
                                                        Reed O’Connor
                                                        UNITED STATES DISTRICT JUDGE




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